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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 16-2443 l-CIV-ALTONAGA/MCALILEY
_ GOLTV, INC., et al.,
Plaintiffs,
vs.

FOX SPORTS LATIN AMERICA, LTD.,
et al.,

Defendants.
/

 

ORDER FOLLOWING DISCOVERY HEARING

The Court held a hearing on June 26, 2018, on Plaintiffs’ Notice of Telephonic
Discovery Hearing. [DE 403]. Defendants James Ganley, Hernan Lopez and Carlos
Martinez objected to being deposed before the Defendants depose Francisco Casal, the
owner of Plaintiffs. The Honorable Cecilia M. Altonaga referred all discovery matters to
me. [DE 360].

The Court had a full discussion with counsel for all parties about the timing of
depositions and the prompt production of Written discovery. For the reasons stated the
hearing, Which the Court incorporates herein, the Court OVERRULES the objection of d
Messrs. Ganley, Lopez and l\/Iartinez that Mr. Casal’s deposition must take place before

their respective depositions The Court directed counsel to meet and confer to develop a

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discovery schedule that ensures discovery is completed in accordance With the deadlines

set forth in the Court’s Scheduling Order.

DONE and ORDERED in chambers at Miami, Florida this 27th day of June, 2018.

cHRr§MCALILEY
UNITED sTATEs MAGISTRATE IUD

cc: The Honorable Cecilia M. Altonaga
Counsel of record

